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                           EXHIBIT C
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                            COFFMAN LAW FIRM RESUME

         The Coffman Law Firm is a litigation firm based in Beaumont, Texas that represents
 individuals and businesses across Texas and throughout the United States in complex
 commercial litigation, class actions and mass actions. The Firm’s litigation practice is focused in
 the areas of antitrust, ERISA, data breach, theft of trade secrets, intellectual property, civil RICO,
 agriculture, consumer and other commercial disputes. For more information about the Coffman
 Law Firm and its attorneys, please visit the Firm website, www.coffmanlawfirm.com.

        Richard L. Coffman is a trial lawyer and the managing partner of the Coffman Law Firm.
 Mr. Coffman received his B.A. in Accounting, with highest honors, from Texas Lutheran
 University in 1978, and both his M.P.A. (Taxation), with honors, in 1980, and J.D. in 1989 from
 the University of Texas at Austin. Prior to establishing the Coffman Law Firm with his wife and
 law partner, Sonya B. Coffman, Mr. Coffman worked for a large defense firm in Houston and
 was a partner in a large plaintiff firm in Beaumont.

         Mr. Coffman, who also is a Certified Public Accountant, worked with two international
 Big 8 public accounting firms. He also taught accounting courses as an adjunct member of the
 faculties of the University of Washington and University of Texas business schools. Mr.
 Coffman is AV peer-review rated by Martindale-Hubbell and admitted to practice in all Texas
 courts, the United States Supreme Court, the United States Court of Federal Claims and several
 federal district courts and circuit courts of appeal.

        Mr. Coffman has significant national and regional class action and mass action leadership
 and logistic experience. Most recently, he was appointed one of the two Interim Co-Lead
 Counsel in MDL 2360; In re: Science Applications International Corporation (SAIC) Backup
 Tape Data Theft Litigation (D. D. C.). Mr. Coffman is also one of three interim co-lead class
 counsel appointed to represent the Financial Institution Track plaintiffs in MDL No. 2046; In re
 Heartland Payment Systems, Inc. Customer Data Security Breach Litigation (S.D. Tex.), a data
 breach case involving the theft of over 120 million credit and debit card numbers. The Heartland
 Payment Systems data breach is believed to be the largest data breach in history.

         In non-data breach cases, Mr. Coffman currently is counsel for the Nevada indirect
 purchaser class representative in MDL No 1827; In re TFT-LCD (Flat Panel) Antitrust Litigation
 (N.D. Cal.), which recently settled for approximately $1.1 billion. Mr. Coffman also represents
 one of the lead direct purchaser class representatives in MDL No. 1957; In re Aftermarket Filters
 Antitrust Litigation (N.D. Ill.) (price fixing). He also is co-counsel for the plaintiffs in
 Quebedeaux v. United States; Case No. 1:11-cv-00389-FMA (Ct. Fed. Cl.), an unconstitutional
 takings class action on behalf of business and property owners in a 4600 square mile area of the
 Atchafalaya River basin in south central Louisiana whose property and businesses were damaged
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 and/or destroyed by floodwaters when the federal government opened the Morganza Spillway on
 the Mississippi River in May 2011.

         In the recent past, Mr. Coffman was appointed to serve as co-lead class counsel in MDL
 No. 1921; In re: Nissan North America, Inc. Odometer Litigation (M.D. Tenn.) (defective
 odometers) and co-lead class counsel in Wilson v. Texas Windstorm Insurance Association;
 Cause No. 09-CV-0421 (56th Judicial District Court of Galveston County, Texas). The Wilson
 case was a class action and mass action on behalf of over 2000 property owners on Bolivar
 Peninsula in Galveston County, Texas, whose homes were completely destroyed by Hurricane
 Ike. Mr. Coffman and his co-counsel secured approximately $175 million of additional insurance
 benefits for the Wilson property owners. Mr. Coffman also represented, as counsel of record or
 as of counsel, nine of the court appointed state indirect purchaser class representatives in MDL
 No. 1819; In re Static Random Access Memory (SRAM) Antitrust Litigation (N.D. Cal.), which
 settled for over $41 million.

         In the past, Mr. Coffman served as lead counsel or co-lead counsel in other national class
 actions, including MDL No. 1354; In re Citigroup, Inc., Capital Accumulation Plan (CAP)
 Litigation (D. Mass.) (forfeiture of earned compensation accumulated by securities brokers in an
 employee benefit plan); Cause No. 1:94CV65; Robert Castro, Jr.v. PaineWebber, Inc. (E.D.
 Tex.) (securities fraud involving a limited partnership investment); Cause No. 2:98CV3573;
 Ronald E. Choinacki v. American Home Products Corporation (D.N.J.) (underpaid lump sum
 pension benefits) and Cause No.: 9:97CV0087; Belinda Myers-Garrison v. Johnson & Johnson
 (E.D. Tex.) (underpaid lump sum pension benefits).

         On the mass action front, Mr. Coffman currently represents over 900 Texas, Louisiana
 and Arkansas rice producers against Bayer CropScience for contaminating the U.S. long grain
 rice seed stock with genetically engineered rice in MDL No. 1811; In re Genetically Modified
 Rice Litigation (E.D. Mo.). This litigation recently settled for $750 million. Along with co-
 counsel, Mr. Coffman represents (i) a group of pharmacies, dentists, churches and other medium
 sized to large businesses in connection with their BP oil spill claims, and (ii) a group of chain
 grocery stores and grocery wholesalers asserting individual price fixing claims against the major
 chocolate manufacturers in MDL No. 1935; In re Chocolate Confectionary Antitrust Litigation
 (M.D. Pa.). In the past, Mr. Coffman was co-lead counsel for a group of 200 chain drug stores
 and chain grocery stores with over 1100 retail locations that opted-out of MDL No. 997; In re
 Brand- Name Prescription Drug Antitrust Litigation (N.D. Ill.).

         Mr. Coffman is also a founding member of the XDL Group, a virtual alliance of veteran
 trial lawyers and intellectual property professionals from five law firms who litigate intellectual
 property matters throughout the United States. See www.xdlgroup.com.
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        Mr. Coffman is active in civic and charitable organizations, currently serving as Vice-
 Chairman of the Board of Beaumont Crime Stoppers. He is also an Executive Board member
 and Assistant Treasurer of the American Schools of Oriental Research (ASOR). Mr. Coffman
 will commence a three year term as ASOR Treasurer in January 2013.

         Sonya B. Coffman is an accomplished trial lawyer and partner in the Coffman Law Firm.
 Ms. Coffman received her B.B.A. in Accounting, with highest honors, from the University of
 Memphis in 1978, and her J.D., with honors, from the University of Texas at Austin in 1989.
 Prior to establishing the Coffman Law Firm, Ms. Coffman worked for a large defense firm in
 Houston and was a partner in a large plaintiff firm in Beaumont.

         Ms. Coffman is a Certified Public Accountant with Big 8 international public accounting
 experience. In addition to her commercial litigation practice, Ms. Coffman is Board Certified in
 Family Law by the Texas Board of Legal Specialization. She is admitted to practice in all Texas
 courts, the Eastern and Southern Districts of Texas and the Fifth Circuit Court of Appeals.

        Ms. Coffman is also active in civic and charitable organizations, having served as a long
 time officer and/or director of the Symphony League of Beaumont, Julie Rogers Gift of Life,
 Neches River Festival and Beaumont Community Partners for Children.
